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                            UNITED STATES DISTRICT COURT                                            .




                     FOR THE WESTERN DISTRICT OF OKLAHOMA


National Cancer Assistance
Foundation Inc.,a Delaware
Corporation,

       Plaintiff,

        V.                                          Civil Action No.5:17-cv-00777-R


National Community Advancement,
Inc., a Delaware Corporation,

and


Courtesy Call,Inc.,
a Nevada Corporation,

        Defendants.




                           DECLARATION OF KERRY SHARON

        I, Kerry Sharon,declare as follows:

        1.      I am over the age of 18 and am competent to make this Declaration. I have

personal knowledge ofall facts stated herein, and,ifcalled as a witness, could competently
testify to these facts.

        2.      I am the President ofNational Community Advancement,Inc., a corporation of

Delaware(hereinafter **NCA"). NCA is in the business oforganizing and developing charitable

projects that aim to support, assist, educate, advise, and comfort victims and survivors ofbreast
cancer,and promote awareness ofearly treatment ofbreast cancer.

        3.      NCA has a principal place ofbusiness at 3907 N.Federal Highway,Suite 283,

Pompano Beach,Florida 33064. NCA has utilized Pompano Beach,Florida as its principal place
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